        Case 2:10-md-02179-CJB-DPC Document 18682-1 Filed 06/03/16 Page 1 of 4




INVOICE	  #	   4900




In	  re	  Oil	  Spill	  by	  the	  Oil	  Rig	  "Deepwater	  Horizon"	     Bill	  To:

Job:             2994                                                               Plaintiffs’	  Steering	  Committee
Invoice	  Date: 6/2/2016                                                           820	  O'Keefe	  Ave
Due	  Date:     6/15/2016                                                          New	  Orleans,	  LA	  70113



Media

Print	  Media	                                                                                              Insertions
Newspaper(s)	  -­‐	  Local	  /	  Community
Mobile	  Press-­‐Register                                                                                          1
Biloxi	  D'Iberville	  Press                                                                                      1
Biloxi	  Sun	  Herald	  (MS)                                                                                     1
Mississippi	  Press                                                                                                1
Ocean	  Springs	  Record	  (MS)                                                                                  1
Sun	  Herald	  (Sunday)                                                                                           1
Abbeville	  Meridional                                                                                             1
Bayou	  Catholic                                                                                                   1
Cameron	  Parish	  Pilot                                                                                          1
Houma	  Courier	  &	  The	  Daily	  Comet                                                                      1
Kenner	  Star                                                                                                      1
Lafayette	  Daily	  Advertiser	  (Sunday)                                                                        1
Lake	  Charles	  American	  Press	  (Sunday)                                                                    1
New	  Iberia	  Daily	  Iberian                                                                                   1
New	  Orleans	  Times-­‐Picayune                                                                                  1
New	  Orleans	  Advocate	  (Sunday)                                                                              1
Plaquemines	  Gazette                                                                                              1
Galveston	  County	  Daily	  News	  (Sunday)                                                                    1
Houston	  Sun                                                                                                      1
Panama	  City	  News	  Herald                                                                                    1
Panama	  City	  News	  Herald	  (Sunday)                                                                        1
Pensacola	  News	  Journal	  (Sunday)                                                                            1

                                                                                           Media	  Total:    $77,144.00
          Case 2:10-md-02179-CJB-DPC Document 18682-1 Filed 06/03/16 Page 2 of 4




Earned	  Media	  and	  Outreach

Press	  Release	  (5	  States)                                                                   $1,412.00
Public	  Service	  Annoucement	  (Radio	  Spot)                                                 $7,500.00

                                                                                	  Sub-­‐Total:    $8,912.00

Other	  Costs

Production	  and	  Distribution:	  Print	  Ad                                                   $1,500.00

                                                                                	  Sub-­‐Total:    $1,500.00

Other	  Costs

                                                          Hours	  Worked   Hourly	  Rate            Total

Elaine	  Pang:	  Media	  Supervisor                          3             $250.00               $750.00
Katherine	  Kinsella:	  Founder                              1.5            $550.00               $825.00
Sali	  Hama:	  Senior	  Notice	  Program	  Manager       53.25           $200.00              $10,650.00
Shannon	  Wheatman:	  President                             41.75           $500.00              $20,875.00

                                                                                	  Sub-­‐Total:   $33,100.00

Current	  Total	  Due
                                                                                                   $120,656.00
Payment	  Instructions

Wire	  Payment	  to:
ABA/Routing	  #	  (Wire	  or	  ACH):	  	  
Account#:	  	  
Account	  Name:	  	  Kinsella	  Media,	  LLC
Reference	  #:	  4900
Bank:	  	  
Bank	  Contact:	  	  
Federal	  Tax	  ID:	  	  


Or	  Overnight	  Payment	  to:
SourceHOV
Attn:	  Bldg	  1,	  Drawer	  9065
2701	  E	  Grauwyler	  Rd
Irving,	  TX	  75061
                    Case 2:10-md-02179-CJB-DPC Document 18682-1 Filed 06/03/16 Page 3 of 4

                  KM	  Employee                           Date                                                             Description                                                                  Hours   Hourly	  Rate     Total

       Shannon	  Wheatman:	  President                  2/28/16                       Edit	  LF	  Notice	  and	  Eligibility	  Chart	  based	  on	  client	  feedback.                        5.25      $500.00        $2,625.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   2/29/16                   Draft	  preliminary	  declaration	  with	  KM's	  media	  recommendations.                                       3       $200.00        $600.00

       Shannon	  Wheatman:	  President                  3/1/16                                       Edit	  LF	  Notice	  based	  on	  client	  feedback.                                         1.5      $500.00        $750.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/1/16                                        Call	  to	  discuss	  Long	  Form	  notice	  edits.                                        0.75      $200.00        $150.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/1/16                                     Edit	  LF	  Notice	  and	  Claims	  Categories	  Chart.                                         2       $200.00        $400.00

       Shannon	  Wheatman:	  President                  3/2/16                        Edit	  LF	  Notice	  and	  Eligibility	  Chart	  based	  on	  client	  feedback.                         3.5      $500.00        $1,750.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/2/16                     Proof	  LF	  Notice	  and	  Claims	  Categories	  Chart	  after	  final	  KM	  edits.                      2.5      $200.00        $500.00

       Shannon	  Wheatman:	  President                  3/3/16                        Edit	  Eligibility	  Chart,	  revise	  LF	  Notice	  and	  Publication	  Notice.                         5.25      $500.00        $2,625.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/3/16                                            Review	  and	  edit	  SF	  Notice	  layout.                                               2       $200.00        $400.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/7/16          Continue	  to	  draft	  preliminary	  declaration	  with	  KM's	  media	  recommendations.                               2       $200.00        $400.00

        Elaine	  Pang:	  Media	  Supervisor            3/8/16                                    Reviewed	  &	  edited	  Preliminary	  Declaration.                                               0.25      $250.00         $62.50

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/8/16         Continue	  to	  draft	  preliminary	  declaration	  and	  revise	  language	  from	  media	  team.                     0.5      $200.00        $100.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/9/16                     Finalize	  draft	  preliminary	  declaration	  and	  send	  to	  SW	  for	  review.                          1       $200.00        $200.00

       Shannon	  Wheatman:	  President                  3/10/16                       Edit	  LF	  Notice	  and	  Eligibility	  Chart	  based	  on	  client	  feedback.                        1.75      $500.00        $875.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/10/16                    Review	  LF	  Notice	  edits	  from	  client	  and	  provide	  feedback	  to	  SW.                          1       $200.00        $200.00
                                                                           Continue	  to	  edit	  draft	  preliminary	  declaration;	  email	  to	  GCG	  re	  administrator	  
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/11/16                                                                                                                                         0.5      $200.00        $100.00
                                                                                                                information	  for	  declaration.

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/14/16                                 Continue	  to	  edit	  draft	  preliminary	  declaration.                                           1       $200.00        $200.00

                                                                    Email	  response	  regarding	  over-­‐inclusive	  mailing	  lists;	  review	  and	  edit	  draft	  declaration;	  
       Shannon	  Wheatman:	  President                  3/16/16                                                                                                                                        6.25      $500.00        $3,125.00
                                                                                          review	  alternative	  print	  options	  for	  excluded	  groups.

        Elaine	  Pang:	  Media	  Supervisor            3/16/16              Look	  at	  leading	  paper	  for	  each	  state	  and	  media	  to	  reach	  business	  target.               0.5      $250.00        $125.00
                                                                     Review	  client	  feedback	  on	  declaration;	  email	  clients	  about	  response	  to	  feedback	  and	  
       Shannon	  Wheatman:	  President                  3/22/16                                                                                                                                        0.75      $500.00        $375.00
                                                                                                potential	  mailing	  data	  for	  pogy	  fishermen.

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/23/16                             Determine	  media	  schedule	  based	  on	  client	  timeline.                                        0.5      $200.00        $100.00

                                                                     Revise	  declaration,	  LF	  Notice,	  Publication	  Notice	  based	  on	  client	  feedback;	  draft	  Email	  
       Shannon	  Wheatman:	  President                  3/24/16                                                                                                                                        1.25      $500.00        $625.00
                                                                                                                          Notice.

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/24/16   Continue	  to	  edit	  draft	  preliminary	  declaration	  and	  SF	  Notice	  (based	  on	  client	  feedback).           1       $200.00        $200.00

       Shannon	  Wheatman:	  President                  3/25/16                                            Review	  GCG	  recommendations.                                                           0.25      $500.00        $125.00

       Shannon	  Wheatman:	  President                  3/28/16         Call	  with	  GCG	  about	  mailing	  recommendations;	  review	  and	  revise	  declaration.                          1.5      $500.00        $750.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/28/16                                    Call	  with	  GCG	  to	  discuss	  mailing	  protocols.                                        0.5      $200.00        $100.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/28/16         Edit	  draft	  preliminary	  declaration	  based	  on	  call	  with	  GCG	  re	  mailing	  protocols.                0.5      $200.00        $100.00

       Shannon	  Wheatman:	  President                  3/30/16                        Begin	  proofing	  LF	  Notice,	  Publication	  Notice,	  Email	  Notice.                                  2       $500.00        $1,000.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/30/16                                               Review	  and	  edit	  radio	  PSAs.                                                   1.5      $200.00        $300.00
                                                                     Review	  final	  client	  edits	  of	  preliminary	  declaration,	  notices,	  and	  draft	  motion.	  	  Discuss	  
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/30/16                                                                                                                                         2.5      $200.00        $500.00
                                                                                                                  PSA	  requirement	  with	  vendor.
                                                                        Proof	  and	  finalize	  LF	  Notice,	  Publication	  Notice,	  Email	  Notice;	  review	  and	  execute	  
       Shannon	  Wheatman:	  President                  3/31/16                                                                                                                                         6.5      $500.00        $3,250.00
                                                                                                             declaration;	  draft	  Mailed	  Notice.

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   3/31/16                   Proof	  and	  finalize	  documents	  to	  execute	  preliminary	  declaration.                                  3       $200.00        $600.00
                                                                    Review	  replacement	  options	  for	  two	  newspapers	  that	  went	  out	  of	  print;	  contact	  clients	  
       Shannon	  Wheatman:	  President                  4/8/16                                                                                                                                           1       $500.00        $500.00
                                                                                                          about	  required	  changes.

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   4/8/16                             Review	  and	  update	  estimate	  with	  list	  of	  newspapers.                                     0.5      $200.00        $100.00
                                                                    Email	  clients	  and	  administrator	  about	  recommendations	  for	  timing	  of	  mailing	  and	  paid	  
       Shannon	  Wheatman:	  President                  4/13/16                                                                                                                                        0.25      $500.00        $125.00
                                                                                                                 media	  appearances.

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   4/13/16                      Review	  preliminary	  approval	  order	  with	  dates	  and	  deadlines.                                    1       $200.00        $200.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   4/14/16      Review	  and	  update	  all	  notices	  with	  dates	  and	  deadlines.	  	  Proof	  and	  finalize	  notices.        2.5      $200.00        $500.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   4/19/16                     Update	  press	  release	  and	  PSA	  with	  dates/deadlines	  for	  review.                                1       $200.00        $200.00

       Shannon	  Wheatman:	  President                  4/20/16                              Respond	  to	  client	  question	  about	  media	  schedule.                                        0.25      $500.00        $125.00

                                                                       Contact	  list	  of	  papers	  for	  updated	  info,	  find	  supplement	  papers	  for	  non-­‐publishing	  
        Elaine	  Pang:	  Media	  Supervisor            4/20/16                                                                                                                                        1.25      $250.00        $312.50
                                                                                                                papers,	  update	  media	  estimate.

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   4/20/16                                             Update	  and	  finalize	  all	  notices.                                               1.25      $200.00        $250.00

        Elaine	  Pang:	  Media	  Supervisor            4/21/16                                     Put	  together	  a	  proposed	  media	  schedule.                                              0.5      $250.00        $125.00
                    Case 2:10-md-02179-CJB-DPC Document 18682-1 Filed 06/03/16 Page 4 of 4

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   4/21/16                                   Update	  media	  schedule	  and	  send	  to	  client.                                         1     $200.00    $200.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   4/21/16                                 Edit	  press	  release	  and	  PSA	  for	  internal	  review.                                  1     $200.00    $200.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   4/25/16                       Update	  all	  notices	  and	  send	  final	  versions	  to	  administrator.                            1     $200.00    $200.00

       Shannon	  Wheatman:	  President                  4/29/16                                      Review	  draft	  of	  press	  release	  and	  PSA.                                        1.25   $500.00    $625.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   4/29/16                                  Review	  and	  discuss	  PSA	  with	  media	  vendor.                                         0.75   $200.00    $150.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/2/16                                    Discuss	  and	  review	  PSA	  with	  radio	  vendor.                                         1     $200.00    $200.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/3/16                                 Follow-­‐up	  with	  vendor	  and	  discuss	  edits	  to	  PSA.                                0.5    $200.00    $100.00

       Shannon	  Wheatman:	  President                  5/4/16                                                  Review/edit	  PSA	  script.                                                        0.5    $500.00    $250.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/4/16      Proof	  press	  release	  and	  PSA;	  discuss	  final	  edits	  and	  requirements	  with	  radio	  vendor.         1.5    $200.00    $300.00
                                                                    Respond	  to	  email	  about	  impact	  on	  notice	  of	  moving	  fairness	  date;	  respond	  to	  Counsel's	  
       Shannon	  Wheatman:	  President                  5/5/16                                                                                                                                       0.5    $500.00    $250.00
                                                                                                        requested	  edits	  to	  the	  press	  release.

       Shannon	  Wheatman:	  President                  5/6/16                               Forward	  email	  with	  correct	  LF	  Notice	  to	  Counsel.                                   0.25   $500.00    $125.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/6/16                                  Update	  notices	  with	  new	  dates	  per	  the	  order.                                     2     $200.00    $400.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/9/16                  Finalize	  notices	  and	  send	  to	  administrator	  for	  final	  review/approval.                         1     $200.00    $200.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/9/16                  Review	  PSAs	  and	  work	  with	  radio	  vendor	  on	  voice	  and	  PSA	  package.                    0.5    $200.00    $100.00
                                                                     Review	  voice	  options	  for	  PSA;	  review	  website	  FAQs;	  reviewed	  suggested	  edits	  by	  PSC	  
       Shannon	  Wheatman:	  President                  5/10/16                                                                                                                                      0.75   $500.00    $375.00
                                                                                                                      and	  HESI	  to	  PSA.

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/10/16                                   Review	  FAQs	  against	  the	  long	  form	  notice.                                         1     $200.00    $200.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/10/16                                                  Review	  and	  edit	  PSAs.                                                       1     $200.00    $200.00

       Shannon	  Wheatman:	  President                  5/12/16                                        Review	  further	  revisions	  to	  the	  PSA.                                           0.5    $500.00    $250.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/12/16                             Review	  and	  edit	  PSAs;	  voice	  talent	  and	  CD	  package.                               1.5    $200.00    $300.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/13/16                          Revise	  long	  form	  notice	  and	  send	  to	  parties	  for	  review.                          0.5    $200.00    $100.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/13/16                                                  Review	  and	  edit	  PSAs.                                                      0.5    $200.00    $100.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/17/16                     Review	  PSA	  scripts	  and	  package	  documents	  with	  radio	  vendor.                               1     $200.00    $200.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/17/16             Call	  with	  radio	  vendor	  to	  discuss	  PSA	  scripts,	  documents,	  and	  CD	  package.               0.5    $200.00    $100.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/18/16                           Revise	  PSA	  scripts	  and	  discuss	  edits	  with	  radio	  vendor.                            0.5    $200.00    $100.00

       Shannon	  Wheatman:	  President                  5/19/16                                  Review	  requested	  edits	  to	  PSA	  from	  vendor.                                        0.25   $500.00    $125.00

                                                                     Revise	  PSA	  scripts	  per	  vendor	  recommendations.	  	  Discuss	  PSA	  edits/options	  with	  KM	  
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/19/16                                                                                                                                      0.5    $200.00    $100.00
                                                                                                                         team.
                                                                     Continue	  to	  work	  with	  vendor	  on	  PSA	  scripts.	  	  Discuss	  approval	  process	  requirements	  
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/20/16                                                                                                                                       1     $200.00    $200.00
                                                                                                                         and	  timeline.

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/20/16                      Final	  edits	  to	  PSA	  scripts.	  Send	  to	  client	  for	  review/approval.                      0.5    $200.00    $100.00

         Katherine	  Kinsella:	  	  Founder            5/20/16                                  Review	  and	  provide	  feedback	  on	  PSA	  script.                                        0.5    $550.00    $275.00

        Elaine	  Pang:	  Media	  Supervisor            5/24/16                                       Finalize	  newspaper	  list	  and	  schedule.                                              0.5    $250.00    $125.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/24/16                         Review	  FAQs	  and	  revise	  long	  form	  notice;	  send	  to	  client.                          0.5    $200.00    $100.00

         Katherine	  Kinsella:	  	  Founder            5/25/16                                 PSA	  recording	  with	  voice	  talent;	  review	  spots.                                     0.5    $550.00    $275.00

       Shannon	  Wheatman:	  President                  5/25/16                                        Review	  and	  approve	  recorded	  PSAs.                                                 0.5    $500.00    $250.00

         Katherine	  Kinsella:	  	  Founder            5/26/16                                              Review	  final	  PSA	  recordings.                                                   0.5    $550.00    $275.00

Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/26/16                                      Finalize	  PSA	  recordings;	  send	  to	  client.                                         0.5    $200.00    $100.00
                                                                      PSA	  recording	  session	  with	  voice	  talent;	  review	  recording	  options;	  discuss	  spots	  with	  
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   5/26/16                                                                                                                                      1.5    $200.00    $300.00
                                                                                                                           vendor.

                                                                                                                                                                                                                        $33,100.00
